     Case 5:21-cr-00189-GTS Document 1 Filed 11/05/20 Page 1 of 6




                                           5:20-MJ-568 (TWD)




11/5/2020
Case 5:21-cr-00189-GTS Document 1 Filed 11/05/20 Page 2 of 6
Case 5:21-cr-00189-GTS Document 1 Filed 11/05/20 Page 3 of 6
Case 5:21-cr-00189-GTS Document 1 Filed 11/05/20 Page 4 of 6
Case 5:21-cr-00189-GTS Document 1 Filed 11/05/20 Page 5 of 6
Case 5:21-cr-00189-GTS Document 1 Filed 11/05/20 Page 6 of 6
